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                             U nited States D istrict Court
                                        for the
                             Sou thern D istrict ofFlorida
   U nited States ofAm erica ex rel       )
   D erek Lew is and Joey Neim an,        )
   Plaintiffs,                            ) CivilAction No
                                          )                18-20394-Civ-Sco1a
                                                              .



                                          )
   Com m unity H ea1th System s,Inc.      )
   and others,D efendants.                )
                                  O rder Unsealinz
         The Court has review ed the Governm ent's notice regarding its decision ,
   under the False Claim Act, 31 U.S.C.j 3730(b)(4), not to intervene in this
   m atter.Based on thatnotice,the Courtrules as follow s:
         The Courtdirects the Clerk ofCourtto unsealthe com plaint(ECF No.1)
         and the G overnm ent's notice, including the attached proposed order,
         thatitis notintervening atthistim e (ECF No.20);
      2. A11other contents ofthe file in this action, to date,are to rem ain under
         seal.
      3.The Court orders the Relators to serve the com plaint (ECF No.
        followed by the Governm ent's notice (ECF No.20),on the Defendants;
         Unless the Court orders otherwise,a11other m atters,filed from this date
         forward,m ust be publicly available;
      5. The parties in this case m ust sez've a1l filings in this action on the
         Governm ent,as provided for in 31 U.S.C.j 3730(c)(3).The Governm ent
         m ay order any deposition transcripts and is entitled to intervene in this
         action,for good cause,atany tim e;
      6. Any notice ofappealm ustbe served on the Governm ent;
      7. The Clerk is directed to continue to direct a11notices ofelectronic filings
         to the G overnm ent;
      8. Should any party proposed that this action be dism issed, settled, or
         othem ise discontinued, the parties m ust reference this order and
         requ est that the C ou rt solicit the w ritten consent of the G overnm ent
         before addressing any discontinuation ofthis case.
         Done and ordered in cham bers at M iam i,Florida on M arch 13,2019.



                                               obert N.Scola,Jr.
                                              United States D istrictJudge
